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  5
  6    Attorneys for Defendant
       Perkins Coie LLP
  7
  8                         UNITED STATES DISTRICT COURT
  9                       SOUTHERN DISTRICT OF CALIFORNIA
 10
 11    TIFFANY DEHEN, an                  Case No. 17-cv-00198-LAB-WVG
       individual on behalf of herself,
 12
                          Plaintiff,      PERKINS COIE LLP’S
 13                                       STATEMENT REGARDING COSTS
             v.
 14
       JOHN DOES 1-100,
 15    TWITTER, INC.,                     Judge: Hon. Larry Alan Burns
       UNIVERSITY OF SAN
 16    DIEGO AND PERKINS COIE
       LLP,
 17
                          Defendants.
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       Statement Regarding Costs                          No. 17-cv-00198-LAB-WVG
Case 3:17-cv-00198-LAB-WVG Document 87 Filed 11/02/18 PageID.2471 Page 2 of 3


  1         On October 24, 2018, this Court issued an order holding that Perkins Coie
  2   LLP (“Perkins”) is a prevailing party in this action and that plaintiff Tiffany Dehen
  3   “has failed to show cause why [Perkins’s] costs should not be taxed against her.”
  4   Dkt. 85 at 3. Accordingly, this Court permitted Perkins to submit a bill of costs by
  5   November 9, 2018. See id.
  6         Perkins submits this statement to inform the Court that it does not intend to
  7   seek costs at this time. However, Perkins reserves its right to seek costs, fees, and
  8   all other appropriate relief on appeal if Dehen continues to pursue this action,
  9   including through any appeal of her dismissed claims against Perkins.
 10
 11         DATED: November 2, 2018
                                                  Respectfully submitted,
 12
 13                                               /s/ James G. Snell
                                                  James G. Snell
 14
                                                  Attorneys for Defendant
 15                                               Perkins Coie LLP
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       Statement Regarding Costs                  -1-         No. 17-cv-00198-LAB-WVG
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  1                             CERTIFICATE OF SERVICE
  2         The undersigned hereby certifies that a true and correct copy of the foregoing
  3   document has been served on November 2, 2018 to all current and/or opposing
  4   counsel of record, if any to date, who are deemed to have consented to electronic
  5   service via the Court’s CM/ECF system per Local Rule 5.4(d). Plaintiff, who is pro
  6   se, will be served via overnight delivery at the following address:
  7
  8          Tiffany Dehen
  9          1804 Garnet Avenue #239
             San Diego, CA 92109
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 11
                                                          s/ James G. Snell
 12                                                       James G. Snell
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       Statement Regarding Costs                 -2-         No. 17-cv-00198-LAB-WVG
